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                          1UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO




UNITED STATES OF AMERICA,                          Case No. 1:18-cr-00052-EJL
                      Plaintiff,
   v.
                                                   ORDER GRANTING MOTION TO
Jens Randall Davis,                                WITHDRAW AND APPOINTING
                                                   CJA COUNSEL
                      Defendant.




        Pending before the Court is a Motion and Affidavit by defense counsel to

withdraw and requesting appointment new counsel in this matter (Dkt. 22 & 23). Having

fully reviewed the record herein, the Court Grants the Motion.

        Because the above-named has testified under oath or has otherwise satisfied the

Court that he is financially unable to employ counsel and do not wish to waive counsel,

and because the interests of justice so require,
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       IT IS HEREBY ORDERED that Craig Durham, CJA attorney for the

District of Idaho is appointed to represent this defendant in these proceedings.



                                          DATED: May 1, 2018




                                          Honorable Edward J. Lodge
                                          U. S. District Judge
